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                                            No. 18-8033
                                                                                         FILED
                              BANKRUPTCY APPELLATE PANEL                           Jul 31, 2018
                                  OF THE SIXTH CIRCUIT                        DEBORAH S. HUNT, Clerk


 In re: MARY J. FARRIER,                                 )
                                                         )                  ORDER
                        Debtor.                          )



 Before: DALES, OPPERMAN, and WISE, Bankruptcy Appellate Panel Judges.


          On July 26, 2018, Mary J. Farrier (“Debtor-Appellant”) filed a three page document

 entitled “RESPOND [sic] TO DISMISSAL NOTICE ON FILING FEES AND CASE.” The

 Bankruptcy Court for the Southern District of Ohio interpreted this document as a notice of appeal

 from the court’s June 21, 2018 order and transmitted it to the Bankruptcy Appellate Panel of the

 Sixth Circuit. This document, although not on an official form, and not titled notice of appeal,

 does reference the June 21, 2018 ruling and invokes the Debtor-Appellant’s “right to ask a Higher

 Court to set the Judge Ruling aside[.]” Moreover, the document clearly expresses a desire to have

 the matter “addressed and resolved in an outside US District Court[.]” In fact, four separate

 references are made therein to the Debtor-Appellant’s desire to have the matter heard by the district

 court.

          Federal Rule of Bankruptcy Procedure 8005 provides:

          To elect to have an appeal heard by the district court, a party must:
                 (1) file a statement of elections that conforms substantially to the
                 appropriate Official Form; and
                 (2) do so within the time prescribed by 28 U.S.C. § 158(1).

 Fed. R. Bankr. P. 8005. This document has been construed as a notice of appeal, and it states that

 the Debtor-Appellant has elected to have the matter heard by the district court in accordance with

 Bankruptcy Rule 8005 and 28 U.S.C. § 158(c)(1)(A).
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         Because the Debtor-Appellant elected to have this matter heard by the district court, the

 case shall be TRANSFERRED to the United States District Court for the Southern District of

 Ohio.

         IT IS SO ORDERED.

                                              ENTERED BY ORDER OF THE PANEL




                                              Deborah S. Hunt, Clerk
